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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF CONNECTICUT


 AURACLE HOMES, LLC; FD
 MANAGEMENT, LLC; BUCKLEY FARMS,
 LLC; ORANGE CAPITOL, LLC; 216 EAST                     3:20-cv-00829-VAB
 MAIN STREET MERIDEN, LLC; BD
 PROPERTY HOLDINGS, LLC; PRIME
 MANAGEMENT, LLC; AND, HABERFELD
 ENTERPRISES, LLC,

         Plaintiffs,

 v.

 NED LAMONT
                                                        JULY 19, 2020
         Defendant.


JOINT STIPULATED FACTS FOR HEARING ON PLAINTIFFS’ EMERGENCY
    MOTION FOR TEMPORARY RESTRAINING ORDER, OR IN THE
      ALTERNATIVE, ISSUANCE OF PRELIMINARY INJUNCTION

1.    In Connecticut, owners of residential real property (hereafter “dwelling unit”) who

      want to let the same (hereafter “landlords”) to those wanting to occupy it (hereafter

      “tenants”) are permitted to do so, with or without a written contract (hereafter

      “lease”) for a particular term (hereafter “tenancy”).

2.    In Connecticut, landlord tenant relations are addressed by CGS §§ 47a-1 through

      47a-74.

3.    In Connecticut, a lease can provide for the payment of money (hereafter “rent”)

      by the tenant to the landlord.

4.    In Connecticut, a landlord and a tenant can agree on a rent for a tenancy in the

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      absence of a lease.

5.    In Connecticut, if the tenant fails to pay the rent, the landlord may terminate the

      tenancy, and regain possession of the property.

6.    In Connecticut, the process the landlord must follow to regain possession includes

      the service of a Notice to Quit Possession (“Notice to Quit”) upon the tenant

      (C.G.S. § 47a-15a) followed by a summary process eviction action using the

      procedure described in C.G.S. § 47a-23, et. seq. to regain possession of the property.

7.    In Connecticut, if a landlord fails to follow the statutory eviction process and

      dispossesses the tenant of the landlord’s property without permission of the tenant

      or the courts, the landlord would be subject to significant penalty. C.G.S. § 47a-43.

8.    The World Health Organization has declared a pandemic virus outbreak, now

      referred to as COVID-19.

9.    The COVID-19 virus reached the United States in early 2020.

10.   Defendant Ned Lamont is the elected Governor of the State of Connecticut.

11.   On March 10, 2020, Governor Lamont filed a Declaration of Public Health and Civil

      Preparedness Emergency with the Secretary of State, pursuant to Conn. Gen. Stat. §§

      19a-131a and 28-9. The Declaration states it is being filed in response to the global

      pandemic of COVID-19 disease and for the purpose of limiting the spread of

      COVID-19 coronavirus and protect public safety within the State of Connecticut. It

      also states “Orders regarding additional measures to protect public health and safety,

      including suspension or modification of specific statues, will follow as I determine

      them to be necessary.”
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12.   On March 13, 2020, the President of the United States declared a national emergency.

13.   On March 19, 2020, Governor Lamont issued Executive Order No. 7G, Subsection

      2, which states “WHEREAS, in consultation with the Chief Court Administrator on

      behalf of the Chief Justice of the Supreme Court and the Judicial Branch, I have

      determined that there exists a compelling state interest that courts conduct only

      essential business in order to minimize the spread of COVID-19;” and

             Notwithstanding any provision of the Connecticut General Statutes
             or of any regulation, local rule or other provision of law, I hereby
             suspend, for the duration of this public health and civil preparedness
             emergency, unless earlier modified or terminated by me, all statutory
             (1) location or venue requirements; (2) time requirements, statutes of
             limitation or other limitations or deadlines relating to service of
             process, court proceedings or court filings; and (3) all time
             requirements or deadlines related to the Supreme, Appellate and
             Superior courts or their judicial officials to issue notices, hold court,
             hear matters and/or render decisions including, but not limited to,
             the following:

             a.     All time limitations in Chapters 959, 959a, 960 and 961 of the
                    General Statutes including, but not limited to, C.G.S. § 54-lg
                    concerning the time of arraignments;
             b.     and C.G.S. § 54-82m concerning the right to a speedy trial;
             c.     All time limitations for rendering judgments in civil actions
                    provided in
                    C.G.S. § 51-183b;
             d.     All time limitations concerning civil process, service and
                    return provided in Chapter 896 of the General Statutes;
             e.     All statutes of limitations provided in Chapter 926 of the
                    General Statutes;
             f.     All time limitations concerning the automatic review of terms
                    of probation provided in C.G.S. § 53a-29(g);
             g.     All time constraints for the filing of administrative appeals
                    provided in C.G.S. § 4-183;
             h.     All time limitations concerning hearings and rulings
                    pertaining to primary and election disputes provided in
                    Chapter 149 of the General Statutes;
             i.     All time limitations in Title 46b of the General Statutes
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                     including, but not limited to, family, juvenile and child
                     support matters;
             j.      All venue and filing requirements including, but not limited
                     to, C.G.S. §§ 51-345, 51-348, 51-352 and 51-353, provided in
                     Chapter 890 of the General Statutes;
             k.      The times and places for the sitting of the Superior Court
                     provided in C.G.S. § 51-181;
             l.      The notice of sessions provided in C.G.S. § 51-18

14.   On March 20, 2020, Governor Lamont issued Executive Order No. 7H.

15.   On March 27, 2020, the President of the United States signed the Coronavirus Aid,

      Relief and Economic Security (CARES) Act. The Act allocated approximately $2.2

      trillion toward mitigating the negative economic, health, and safety impacts of the

      pandemic. Under the Act, funds will be distributed to individuals, families,

      businesses, public assistance programs, American Indian tribes, and state and local

      governments.

16.   On April 10, 2020, Governor Lamont issued Executive Order No. 7X, Subsection 1,

      entitled Protections for Residential Renters Impacted by COVID-19. The Order

      states “WHEREAS, minimizing evictions during this public health period is critical to

      controlling and reducing the spread of COVID-19 by allowing all residents to stay

      home or at their place of residence.” Additionally:

      a.     Section 1(a) modified Conn. Gen. Stat. § 47a-23 to add “(f) No landlord of a

             dwelling unit, and no such landlord’s legal representative, attorney-at-law, or

             attorney-in-fact, shall, before July 1, 2020, deliver or cause to be delivered a

             notice to quit or serve or return a summary process action, for any reason set

             forth in this chapter or in sections 21-80 et seq. of the Connecticut General


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             Statues, except for serious nuisance as defined in section 47a-15 of

             Connecticut General Statutes.

      b.     Section 1(b) provides an automatic 60-day grace period for April rent.

      c.     Section 1(c) provides a 60-day grace period for May rent, upon request by the

             tenant, indicating “that the tenant needs to delay all or some payment of rent

             because he or she has become fully or partially unemployed or otherwise

             sustained a significant loss in revenue or increase in expense as a result of the

             COVID 19 pandemic.”

      d.     Section 1(d) Modified Conn. Gen. Stat. § 47a-21(m) to provide that any

             security deposit in excess of one month’s rent can be used by the tenant to pay

             April, May or June 2020 rent. The landlord cannot demand that the security

             deposit in excess of one month be restored earlier than the later of the end of

             the public health and civil preparedness emergency declared on March 10,

             2020, or the date the rental agreement is extended or renewed.

      e.     Executive Order 7X also states “[e]xcept as expressly provided herein, nothing

             in this order shall relieve a tenant of liability for unpaid rent or the obligation

             to comply with other terms of a rental agreement or statutory obligations

             pursuant to Connecticut law.

17.   Buckley Farms LLC owns real property located at 206 Crown Street, Meriden,

      Connecticut. On behalf of Buckley Farms LLC, Haberfeld Enterprises, LLC

      (“landlord”) leases and manages 206 Crown Street, 3rd Floor, Meriden, CT. The

      landlord has a written lease agreement with tenants, requiring the payment of rent,
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      and providing for penalties for a tenant failing to pay rent on time. Tenants have not

      paid rent for the months of April and May 2020 presumably due to Executive Order

      7X, Haberfeld Enterprises, LLC is precluded from serving the tenant with a Notice of

      Quit Possession of the dwelling unit until at least August 22, 2020.

18.   216 East Main Street Meriden LLC (“landlord”) owns the real property located at 216

      East Main Street, Meriden, Connecticut. The landlord has an oral lease agreement

      with a tenant to rent Unit #2 of 216 East Main Street, Meriden, Connecticut,

      requiring the payment of rent. The tenant did not pay rent for at least the months

      of March, April and May 2020. The tenant was served a Notice to Quit on March 14,

      2020. 216 East Main Street Meriden LLC served a Summons for Summary Process

      Eviction, Complaint, Return of Service and copy of the Notice to Quit on tenant on

      March 27, 2020. Due to the Governor’s Executive Order 7X, 216 East Main Street

      Meriden LLC is prohibited from returning its Summary Process Complaint for

      Eviction to the Court and attempt to regain possession of Unit #2 until at least

      August 22, 2020.

19.   216 East Main Street Meriden LLC (“landlord”) has an oral lease agreement with a

      tenant to rent Unit #3 of 216 East Main Street, Meriden, Connecticut 06450 requiring

      the payment of rent. The tenant failed to pay rent on March 1, 2020 and was served a

      Notice to Quit on March 14, 2020 for nonpayment of rent. A Summons for Summary

      Process Eviction, Complaint, Return of Service and copy of the Notice to Quit were

      returned to the Meriden Superior Court, Judicial District of New Haven on April 1,

      2020, Case #NNI-CV20-6019833-S. Due to Executive Order 7G, suspending all
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      statutory time requirements relating to service of process, court proceedings or court

      filings, 216 East Main Street Meriden LLC has not been able to pursue a judgment

      against the tenant and attempt to regain possession of Unit #3.

20.   216 East Main Street Meriden LLC (“landlord”) has a written lease agreement with a

      tenant to rent Unit #4 of 216 East Main Street, Meriden, Connecticut 06450

      requiring the payment of rent and providing for penalties for a tenant failing to pay

      rent on time. The tenant failed to pay rent on February 1, 2020 and has failed to pay

      rent for at least March, April and May 2020. Tenant was served a Notice to Quit for

      lapse of time on March 14, 2020. On April 1, 2020 Tenant was served a Summons for

      Summary Process Eviction and complaint. The summons, complaint, copy of the

      Notice to Quit, and return of service were returned to Meriden Superior Court,

      Judicial District of New Haven on April 2, 2020, Case #NNI-CV20-6019842-S. Due

      to the Executive Order 7G, suspending all statutory time requirements relating to

      service of process, court proceedings or court filings, 216 East Main Street Meriden

      LLC has not been able to pursue a judgment against the tenant and attempt to regain

      possession of Unit #4. (It is possible that with the recent issuance of Executive

      Order 7DDD, the Plaintiff may no longer be precluded from pursuing an action,

      however Executive Order 7G may still act as a bar to state court action.)

21.   216 East Main Street Meriden LLC (“landlord”) has a written lease agreement with

      tenant to rent Unit #6 of 216 East Main Street, Meriden, Connecticut 06450 requiring

      the payment of rent and providing for penalties for a tenant failing to pay rent on

      time. The tenant failed to pay rent and was served a Notice to Quit on October 31,
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      2019. On November 6, 2019, a Summons for Summary Process Eviction, Complaint

      and copy of the Notice to Quit were served on the tenant. The summons, complaint,

      copy of the Notice to Quit and return of service were filed with the Meriden Superior

      Court, Judicial District of New Haven on November 12, 2019, Case #NNI-CV19-

      6018416-S. A Motion for Default for Failure to Appear and Judgment of Possession

      was filed by the Plaintiff on March 12, 2020. Due to the Governor’s Executive Order

      7G suspending all statutory time requirements relating to service of process, court

      proceedings or court filings, landlord has not been able to pursue a judgment against

      the tenant, and attempt to regain possession of Unit #6. (It is possible that with the

      recent issuance of Executive Order 7DDD, the Plaintiff may no longer be precluded

      from pursuing an action, however Executive Order 7G may still act as a bar to state

      court action.)

22.   216 East Main Street Meriden LLC (“landlord”) has an oral lease agreement with

      tenant to rent Unit #7 of 216 East Main Street, Meriden, Connecticut 06450 requiring

      the payment of rent. The Tenant did not pay rent for at least the months of March,

      April, and May2020. Due to the Governor’s Executive Order 7X the landlord is not

      permitted to serve a Notice to Quit on the Tenant. But for Executive Order 7X, 216

      East Main Street Meriden LLC would have served a Notice to Quit on the tenant of

      Unit #7.

23.   216 East Main Street Meriden LLC (“landlord”) has a written lease agreement with

      tenant to rent Unit #10 of 216 East Main Street, Meriden, Connecticut 06450

      requiring the payment of rent. The Tenant did not pay rent for at least the months of
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      March 2020, and Tenant of Unit #10 told 216 East Main Street Meriden LLC that he

      did not have to pay rent for the months of April and May of 2020 because of

      Executive Order 7X. Due to the Governor’s Executive Order 7X the landlord is not

      permitted to serve a Notice to Quit on the Tenant until August 22, 2020. But for

      Executive Order 7X, 216 East Main Street Meriden LLC would have served a Notice

      to Quit on the tenant of Unit #10.

24.   BD Property Holdings LLC owns real property located at 191 Sherman Avenue, New

      Haven, Connecticut. On behalf of BD Property Holdings LLC, Prime Management,

      LLC (“landlord”) leases and manages 191 Sherman Ave., 2nd Floor, New Haven, CT.

      Prime Management, LLC has a written lease agreement with tenants to rent the 2nd

      floor of 191 Sherman Avenue, New Haven CT 06511, requiring the payment of rent

      and providing for penalties for a tenant failing to pay rent on time. Tenants did not

      pay rent for at least the months of March, April and May 2020. Prime Management,

      LLC served a Notice to Quit on the tenants. Because of Executive Order 7X, Prime

      Management, LLC is precluded from serving and returning a Summary Process

      Complaint for Eviction until August 22, 2020. But for Executive Order 7X, Prime

      Management, LLC would have served a Notice to Quit on the tenant of 191 Sherman

      Ave., 2nd Floor, New Haven, CT.

25.   Prime Management, LLC (“landlord”) has a written lease agreement with a tenant to

      rent the 1st floor of 191 Sherman Avenue, New Haven, CT, requiring the payment

      of rent and providing for penalties for a tenant failing to pay rent on time. The

      tenant did not timely pay rent due on May 1, 2020. Due to the Governor’s
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      Executive Order 7X Prime Management, LLC was precluded from serving a Notice

      to Quit on the tenant for nonpayment of rent until August 22, 2020. But for

      Executive Order 7X, Prime Management, LLC would have served a Notice to Quit

      on the tenant of 191 Sherman Ave., 1st Floor, New Haven, CT.

26.   Haberfeld Enterprises, LLC owns real property located at 146 Pine Street, Bristol,

      Connecticut. Haberfeld Enterprises, LLC (“landlord”) has a written lease agreement

      with a tenant to rent the 3rd floor of 146 Pine Street, Bristol, CT. Tenant did not pay

      rent for February, March, April and May 2020. Due to the Governor’s Executive

      Order 7X, landlord is precluded from serving a valid Notice to Quit on the tenant for

      nonpayment of rent. But for Executive Order 7X, Haberfeld Enterprises, LLC would

      have served a valid Notice to Quit on the tenant of the 3rd Floor of 146 Pine Street,

      Bristol, Connecticut.

27.   On June 29, 2020, the Defendant issued Executive Order 7DDD which, among other

      things: extended the prohibition of the service of notice to quit or a summary process

      action to August 1, 2020; suspended the legality of previously served and otherwise

      legal notice(s) to quit that did not specify a particular time period. The Order also

      states, in part: “WHEREAS, in order to keep people safely in their homes and avoid

      increasing homelessness and the associated risk of COVID-19 transmission,

      Executive Order 7X, Section 1 provided temporary relief from statuary eviction

      proceedings; and WHEREAS, continued economic disruption could increase

      homelessness and associate risk of COVID-19 transmission unless certain relief

      measure provide in Execution Order N. 7X are continued.” Subsection 1 extended
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      the suspension of service for notices to quit and to serve or return a summary process

      action, except for nonpayment of rent due on or prior to February 29, 2020 or for

      serious nuisance, until August 22, 2020.

28.   The State of Connecticut, Department of Housing launched the Temporary Rental

      Housing Assistance Program on July 15, 2020, making $10,000,000.00 available to

      renters to prevent eviction actions.

29.   The Plaintiffs can and would exercise their rights to issue notices to quit, initiate

      summary process actions, and attempt to regain possession of their properties, but

      for the risk of legal sanctions under the State’s laws.

Dated: JULY 19, 2020                         Respectfully submitted,

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